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                                  UNITED STATES DISTRICT COURT
 6                          FOR THE WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 7
     PUMA SE, and PUMA North America Inc.,                 )   Case No.
 8                                                         )
                    Plaintiffs,                            )
 9                                                         )
            v.                                             )
10                                                         )
     Brooks Sports, Inc.,                                  )   JURY DEMAND
11                                                         )
                    Defendant.                             )
12

13                           COMPLAINT FOR PATENT INFRINGEMENT

14          Plaintiffs, PUMA SE and PUMA North America Inc. (collectively, “PUMA”), by and

15   through undersigned counsel, bring this action for patent infringement against Defendant Brooks

16   Sports, Inc. (“Brooks”), and by and for their Complaint, allege as follows:

17                                     NATURE OF THE ACTION

18          1.      This is an action for patent infringement seeking to remedy Brooks’ ongoing

19   disregard for PUMA’s intellectual property rights through the manufacture, use, sale, offer for

20   sale and importation of athletic shoes that infringe PUMA’s patents. Indeed, Brooks’ infringing

21   activity has continued even after PUMA provided notice to Brooks of at least PUMA’s U.S.

22   Patent Number 11,825,904 to Brooks’ VP Legal & General Counsel. This action seeks a

23   permanent injunction and the recovery of monetary damages stemming from Brooks’

24   infringement of nine of PUMA’s patents, specifically United States Patent Nos. 11,825,904 (“the

25   ’904 Patent”), 11,974,629 (“the ’629 Patent”), 11,974,630 (“the ’630 Patent”), 12,016,422 (“the

26   ’422 Patent”), D1,022,421 (“the D’421 Patent”), D1,022,422 (“the D’422 Patent”), D1,023,531

27   (“the D’531 Patent”), D1,021,356 (“the D’356 Patent”), and D1,009,432 (“the D’432 Patent”)

28   (collectively, “the Asserted Patents”).
     COMPLAINT                                                             LOWE GRAHAM JONES PLLC
                                                                            1325 FOURTH AVENUE, SUITE 1130
                                                     -1-                          SEATTLE, WA 98101
                                                                                   TEL: 206-381-3300
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 1                                                PARTIES
 2          2.      Plaintiffs PUMA SE and PUMA North America Inc. are world leaders in the
 3   sportswear industry.
 4          3.      PUMA SE is organized and existing under the laws of Germany, with its principal
 5   place of business at Puma Way 1, 91074 Herzogenaurach, Germany. PUMA SE is a multinational
 6   company that designs and manufactures athletic and casual footwear, apparel, and accessories.
 7   PUMA SE employs more than 20,000 people worldwide and distributes its products in more than
 8   120 countries, with over 9.3 Billion dollars in sales in 2023.
 9          4.      PUMA North America Inc. is a Delaware corporation with its principal place of
10   business at 455 Grand Union Blvd, Somerville, MA 02145.
11          5.      PUMA North America directs all U.S.-based operations on behalf of PUMA SE,
12   including sales, brand marketing, product marketing, product design, public relations,
13   distribution, enforcement, and licensing of and for PUMA-branded merchandise.
14          6.      PUMA North America is a licensee of patents owned by PUMA SE for purposes
15   of PUMA North America’s U.S. sales activities.
16          7.      Defendant Brooks Sports, Inc. is a Washington corporation, with its principal
17   place of business at 3400 Stone Way N, Suite 500, Seattle, WA 98103.
18                                    JURISDICTION AND VENUE
19          8.      This is an action for patent infringement under the patent laws of the United States,
20   namely, 35 U.S.C. §§ 101 et seq., 271, 281, and 284, among others. This Court has original
21   subject matter jurisdiction over this dispute pursuant to 28 U.S.C. §§ 1331 and 1338(a).
22          9.      This Court has general personal jurisdiction over Brooks because it is a
23   Washington corporation with its principal place of business in Seattle, Washington.
24          10.     Venue is also proper in this district pursuant to 28 U.S.C. § 1400(b) because
25   Brooks has committed acts of patent infringement in this district and its principal place of
26   business in this district, located in Seattle, Washington.
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     COMPLAINT                                                              LOWE GRAHAM JONES PLLC
                                                                             1325 FOURTH AVENUE, SUITE 1130
                                                       -2-                         SEATTLE, WA 98101
                                                                                    TEL: 206-381-3300
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 1                                     FACTS AND BACKGROUND
 2          11.     PUMA has a long, storied history in the running industry, and specifically in the
 3   development of track and field spikes and running shoes.
 4          12.     While operating as Dassler Brothers Shoe Factory, a predecessor to PUMA, the
 5   original founding Dassler Brothers drove from Bavaria to the 1936 Summer Olympics in Berlin
 6   with a suitcase full of track and field running spikes and persuaded United States sprinter Jesse
 7   Owens to use them. Owens won four gold medals in the Dassler track and field spikes.
 8          13.     In 1948, the brothers split the business, and what is today PUMA was formed.
 9          14.     Since 1948, PUMA has drawn strength and credibility from its heritage in sports
10   and has continued its legacy of innovation, repeatedly designing shoes worn by track and field
11   gold medal Olympic athletes.
12          15.     PUMA’s innovation continues through today.
13          16.     In February of 2024, PUMA running shoes were worn by the first and third place
14   runners in the women’s Olympic Trials Marathon, setting a women’s Olympic Trials record.
15          17.     PUMA’s innovation has been possible due to PUMA’s continued investment in
16   research, development and design efforts, striving to make PUMA’s athletes forever faster.
17          18.     To protect its investment in innovation, PUMA seeks patent protection for its
18   unique contributions to the running space, having obtained both utility and design patents on its
19   running shoes and track spikes.
20          19.     Plaintiff PUMA SE is the owner by assignment of the entire right, title, and
21   interest in the ’904 Patent. A true and correct copy of the ’904 Patent is attached hereto as Exhibit
22   A.
23          20.     After the priority date of the ’904 Patent, Brooks introduced a shoe, the “Hyperion
24   Elite MD,” that infringes at least Claim 14 of the ’904 Patent. As shown below, the Hyperion
25   Elite MD meets every limitation of Claim 14 of the ’904 Patent.
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     COMPLAINT                                                              LOWE GRAHAM JONES PLLC
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 1               ’904 Patent, Claim 14                      Hyperion Elite MD
     A sole structure for an article of footwear
 2   having an upper, the sole structure
     comprising:
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 7
     a first cushioning member;
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14   a second cushioning member that is spaced
     apart from the first cushioning member by a
15   gap that extends between the first cushioning
     member and the second cushioning member;
16   and
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20   a sole plate that extends across the gap from
     the first cushioning member to the second
21   cushioning member, the sole plate extending
22   away from the upper moving across the gap
     from the first cushioning member to the
23   second cushioning member, wherein the sole
     plate is positioned within at least one of the
24   first cushioning member and the second
     cushioning member.
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     COMPLAINT                                                   LOWE GRAHAM JONES PLLC
                                                                  1325 FOURTH AVENUE, SUITE 1130
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 1          21.     Plaintiff PUMA SE is the owner by assignment of the entire right, title, and
 2   interest in the ’629 Patent. A true and correct copy of the ’629 Patent is attached hereto as Exhibit
 3   B.
 4          22.     After the priority date of the ’629 Patent, Brooks introduced a shoe, the “Aurora-
 5   BL,” that infringes at least Claim 1 of the ’629 Patent. As shown below, the Aurora-BL meets
 6   every limitation of Claim 1 of the ’629 Patent.
 7
                   ’629 Patent, Claim 1                                   Aurora-BL
 8    An article of footwear having a sole structure
      and an upper, the sole structure comprising:
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13    a first cushioning member directly coupled to
14    the upper and extending continuously between
      a heel region and a midfoot region of the sole
15    structure; and

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22    a second cushioning member directly coupled
23    to the upper and extending continuously
      between a forefoot region and the midfoot
24    region of the sole structure,

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     COMPLAINT                                                              LOWE GRAHAM JONES PLLC
                                                                              1325 FOURTH AVENUE, SUITE 1130
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 1                ’629 Patent, Claim 1                        Aurora-BL
     wherein the first cushioning member and the
 2   second cushioning member overlap in the
     midfoot region and are spaced apart to define
 3   a gap that extends between the first
     cushioning member and the second
 4   cushioning member in the midfoot region of
 5   the sole structure,

 6

 7   the gap having a centerline defined between
     the first cushioning member and the second
 8   cushioning member, the centerline following a
     contour of an end of at least one of the first
 9   cushioning member and the second
10   cushioning member that bounds the gap when
     viewed from a bottom of the article of
11   footwear;

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     and wherein at least one of the first cushioning
13   member or the second cushioning member are
     a supercritical foam.
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     COMPLAINT                                                 LOWE GRAHAM JONES PLLC
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 1          23.       Plaintiff PUMA SE is the owner by assignment of the entire right, title, and
 2   interest in the ’630 Patent. A true and correct copy of the ’630 Patent is attached hereto as Exhibit
 3   C.
 4          24.       After the priority date of the ’630 Patent, Brooks introduced a shoe, the “Hyperion
 5   Elite LD,” that infringes at least Claim 15 of the ’630 Patent. As shown below, the Hyperion
 6   Elite LD meets every limitation of Claim 15 of the ’630 Patent.
 7
                  ’630 Patent, Claim 15                                Hyperion Elite LD
 8    An article of footwear comprising:

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13    an upper; and
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      a sole structure coupled to the upper and
19    defining a ground engaging surface,

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22
      the sole structure including: a cushioning
23
      member coupled to the upper; and
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     COMPLAINT                                                               LOWE GRAHAM JONES PLLC
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 1               ’630 Patent, Claim 15                        Hyperion Elite LD
     an outsole coupled to the cushioning member,
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 6
     the outsole including a front outsole segment
 7   positioned in a forefoot region and a midfoot
     region, and
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     a rear outsole segment positioned in a heel
14
     region and discontinuous with the front
15   outsole segment along the ground engaging
     surface,
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     the front outsole segment including a medial
21   segment with a first plurality of lobes
     arranged along a medial side of the sole
22   structure and a lateral segment with a second
     plurality of lobes arranged along a lateral side
23   of the sole structure,
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     COMPLAINT                                                     LOWE GRAHAM JONES PLLC
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 1                 ’630 Patent, Claim 15                              Hyperion Elite LD
      wherein each of the first plurality of lobes and
 2    the second plurality of lobes includes at least
      two lobes that are disposed entirely within the
 3    forefoot region such that the outsole has a
      continuous undulating peripheral edge
 4    extending around a toe end of the sole
 5    structure from a lateral side to a medial side,
      and
 6
      wherein the undulating peripheral edge
 7    defines at least four inflection points along the
      lateral side and at least four inflection points
 8
      along the medial side within the forefoot
 9    region and the midfoot region.

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12          25.     Plaintiff PUMA SE is the owner by assignment of the entire right, title, and
13   interest in the ’422 Patent. A true and correct copy of the ’422 Patent is attached hereto as Exhibit
14   D.
15          26.     After the priority date of the ’422 Patent, Brooks introduced a shoe, the “Hyperion
16   Elite 4,” that infringes at least Claim 9 of the ’422 Patent. As shown below, the Hyperion Elite 4
17   meets every limitation of Claim 9 of the ’422 Patent.
18
             ’422 Patent, Claim 9                                Hyperion Elite 4
19    A sole structure for an article of
      footwear having an upper, the
20    sole structure comprising:
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     COMPLAINT                                                              LOWE GRAHAM JONES PLLC
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 1         ’422 Patent, Claim 9                     Hyperion Elite 4
     an outsole;
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 6
     a midsole extending between the
 7
     outsole and the upper, the
 8   midsole including a first midsole
     member coupled to the outsole
 9   and extending from a forefoot
     region to a heel region of the sole
10   structure,
11

12   the first midsole member
13   defining an entry region at a heel
     end in which the first midsole
14   member defines a substantially
15   flat angled portion that is angled
     away from a ground surface by a
16   first angle that is configured to
17   increase contact at a ground
     engaging surface of the first
18   midsole member during a heel
19   strike, and

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21

22   a second midsole member
     coupled to the upper and
23   positioned between the first
     midsole member and the upper,
24   the second midsole member
     extending from the heel region to
25   the forefoot region; and
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     COMPLAINT                                                LOWE GRAHAM JONES PLLC
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 1          ’422 Patent, Claim 9                               Hyperion Elite 4
      a sole plate positioned within the
 2    midsole between the first midsole
      member and the second midsole
 3    member,
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 7    the sole plate being exposed at a
      cutout portion in the first midsole
 8    member,
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13
      wherein the substantially flat
14    angled portion of the entry region
      extends from a first end to a
15    second end, the first end being
      positioned below a heel end of
16    the sole plate and the second end
      being positioned above the heel
17
      end of the sole plate.
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23          27.     After the priority date of the ’422 Patent, Brooks introduced a shoe, the “Hyperion
24   Max 2,” that infringes at least Claim 9 of the ’422 Patent. As shown below, the Hyperion Max 2
25   meets every limitation of Claim 9 of the ’422 Patent.
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     COMPLAINT                                                             LOWE GRAHAM JONES PLLC
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 1          ’422 Patent, Claim 9                    Hyperion Max 2
     A sole structure for an article of
 2   footwear having an upper, the
     sole structure comprising:
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     an outsole;
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15   a midsole extending between the
     outsole and the upper, the midsole
16
     including a first midsole member
17   coupled to the outsole and
     extending from a forefoot region
18   to a heel region of the sole
     structure,
19

20
     the first midsole member defining
21   an entry region at a heel end in
     which the first midsole member
22
     defines a substantially flat angled
23   portion that is angled away from a
     ground surface by a first angle
24
     that is configured to increase
25   contact at a ground engaging
     surface of the first midsole
26
     member during a heel strike, and
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     COMPLAINT                                              LOWE GRAHAM JONES PLLC
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 1          ’422 Patent, Claim 9                    Hyperion Max 2
     a second midsole member
 2   coupled to the upper and
     positioned between the first
 3   midsole member and the upper,
     the second midsole member
 4   extending from the heel region to
 5   the forefoot region; and

 6   a sole plate positioned within the
     midsole between the first midsole
 7   member and the second midsole
     member,
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11   the sole plate being exposed at a
     cutout portion in the first midsole
12   member,

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16
     wherein the substantially flat
17
     angled portion of the entry region
18   extends from a first end to a
     second end, the first end being
19   positioned below a heel end of the
     sole plate and the second end
20   being positioned above the heel
     end of the sole plate.
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     COMPLAINT                                              LOWE GRAHAM JONES PLLC
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 1          28.     Plaintiff PUMA SE is the owner by assignment of the entire right, title, and
 2   interest in the D’421 Patent. A true and correct copy of the D’421 Patent is attached hereto as
 3   Exhibit E.
 4          29.     After the priority date of the D’421 Patent, Brooks introduced the Hyperion Elite
 5   MD.
 6          30.     The Hyperion Elite MD infringes the D’421 Patent. As shown below, the
 7   Hyperion Elite MD meets every limitation of the D’421 Patent.
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                       U.S. D1,022,421                                Hyperion Elite MD
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     COMPLAINT                                                             LOWE GRAHAM JONES PLLC
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 1                    U.S. D1,022,421                               Hyperion Elite MD

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 6           31.   After the priority date of the D’421 Patent, Brooks introduced the Hyperion Elite

 7   LD.

 8           32.   The Hyperion Elite LD infringes the D’421 Patent. As shown below, the Hyperion

 9   Elite LD meets every limitation of the D’421 Patent.

10                   U.S. D1,022,421                                Hyperion Elite LD
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     COMPLAINT                                                           LOWE GRAHAM JONES PLLC
                                                                          1325 FOURTH AVENUE, SUITE 1130
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 1                    U.S. D1,022,421                                 Hyperion Elite LD

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            33.     Plaintiff PUMA SE is the owner by assignment of the entire right, title, and
 7
     interest in the D’422 Patent. A true and correct copy of the D’422 Patent is attached hereto as
 8
     Exhibit F.
 9
            34.     After the priority date of the D’422 Patent, Brooks introduced the Hyperion Elite
10
     MD.
11
            35.     The Hyperion Elite MD infringes the D’422 Patent. As shown below, the
12
     Hyperion Elite MD meets every limitation of the D’422 Patent.
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                       U.S. D1,022,422                                 Hyperion Elite MD
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     COMPLAINT                                                             LOWE GRAHAM JONES PLLC
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 1                     U.S. D1,022,422                               Hyperion Elite MD

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             36.   After the priority date of the D’422 Patent, Brooks introduced the Hyperion Elite
 7
     LD.
 8
             37.   The Hyperion Elite LD infringes the D’422 Patent. As shown below, the Hyperion
 9
     Elite LD meets every limitation of the D’422 Patent.
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                      U.S. D1,022,422                               Hyperion Elite LD
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     COMPLAINT                                                           LOWE GRAHAM JONES PLLC
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 1          38.     Plaintiff PUMA SE is the owner by assignment of the entire right, title, and
 2   interest in the D’531 Patent. A true and correct copy of the ’531 Patent is attached hereto as
 3   Exhibit G.
 4          39.     After the priority date of the D’531 Patent, Brooks introduced the Hyperion Elite
 5   MD.
 6          40.     The Hyperion Elite MD infringes the D’531 Patent. As shown below, the
 7   Hyperion Elite MD meets every limitation of the D’531 Patent.
 8
                       U.S. D1,023,531                                  Hyperion Elite MD
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     COMPLAINT                                                              LOWE GRAHAM JONES PLLC
                                                                             1325 FOURTH AVENUE, SUITE 1130
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 1           41.   After the priority date of the D’531 Patent, Brooks introduced the Hyperion Elite
 2   LD.
 3           42.   The Hyperion Elite LD infringes the D’531 Patent. As shown below, the Hyperion
 4   Elite LD meets every limitation of the D’531 Patent.
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                     U.S. D1,023,531                                Hyperion Elite LD
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     COMPLAINT                                                           LOWE GRAHAM JONES PLLC
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 1          43.     Plaintiff PUMA SE is the owner by assignment of the entire right, title, and
 2   interest in the D’356 Patent. A true and correct copy of the D’356 Patent is attached hereto as
 3   Exhibit H.
 4          44.     After the priority date of the D’356 Patent, Brooks introduced the Hyperion Elite
 5   4.
 6          45.     The Hyperion Elite 4 infringes the D’356 Patent. As shown below, the Hyperion
 7   Elite 4 meets every limitation of the D’356 Patent.
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                     U.S. D1,021,356                                  Hyperion Elite 4
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     COMPLAINT                                                             LOWE GRAHAM JONES PLLC
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 1                   U.S. D1,021,356                                  Hyperion Elite 4

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10          46.     Plaintiff PUMA SE is the owner by assignment of the entire right, title, and
11   interest in the D’432 Patent. A true and correct copy of the D’432 Patent is attached hereto as
12   Exhibit I.
13          47.     After the priority date of the D’432 Patent, Brooks introduced the Hyperion Elite
14   4.
15          48.     The Hyperion Elite 4 infringes the D’432 Patent. As shown below, the Hyperion
16   Elite 4 meets every limitation of the D’432 Patent.
17                   U.S. D1,009,432                                   Hyperion Elite 4
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     COMPLAINT                                                             LOWE GRAHAM JONES PLLC
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 1                      U.S. D1,009,432                                  Hyperion Elite 4

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 8              49.   Brooks’ routine practice of infringing PUMA’s intellectual property is willful,
 9   deliberate, and intentional. Brooks’ complete disregard for PUMA’s intellectual property will
10   continue to irreparably harm PUMA unless enjoined by this Court.
11                                          CAUSES OF ACTION
12                                                COUNT I:
13                               Infringement of U.S. Patent No. 11,825,904
14              50.   PUMA incorporates by reference the allegations contained in the preceding
15   paragraphs as if separately repeated here.
16              51.   Under 35 U.S.C. § 271(a), Brooks has directly infringed and continues to directly
17   infringe, literally or under the doctrine of equivalents, PUMA’s ’904 Patent by making, using,
18   selling, and offering for sale in the United States, or importing into the United States, a shoe that
19   meets every limitation of at least Claim 14 of the ’904 Patent.
20              52.   At least as January 2024, Brooks has knowledge of the ’904 Patent and of Brooks’
21   infringement thereof.
22              53.   At least as of January 2024, Brooks’ infringement of the ’904 Patent has been
23   willful.
24              54.   At least as of January 2024, Brooks has actively induced others to directly infringe
25   the ’904 Patent.
26              55.   PUMA has sustained damages as a direct and proximate result of Defendant’s
27   infringement of the ’904 Patent and is entitled to damages pursuant to 35 U.S.C. § 284.
28              56.   Brooks’ infringement has caused, and unless enjoined by this Court under 35
     COMPLAINT                                                               LOWE GRAHAM JONES PLLC
                                                                               1325 FOURTH AVENUE, SUITE 1130
                                                       - 22 -                        SEATTLE, WA 98101
                                                                                      TEL: 206-381-3300
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 1   U.S.C. § 283, will continue to cause PUMA to suffer irreparable harm for which it cannot be
 2   adequately compensated by a monetary award.
 3                                                COUNT II:
 4                              Infringement of U.S. Patent No. 11,974,629
 5          57.     PUMA incorporates by reference the allegations contained in the preceding
 6   paragraphs as if separately repeated here.
 7          58.     Under 35 U.S.C. § 271(a), Brooks has directly infringed and continues to directly
 8   infringe, literally or under the doctrine of equivalents, PUMA’s ’629 Patent by making, using,
 9   selling, and offering for sale in the United States, or importing into the United States, a shoe that
10   meets every limitation of at least Claim 1 of the ’629 Patent.
11          59.     At least as of the filing of this Complaint, Brooks has knowledge of the ’629
12   Patent and of Brooks’ infringement thereof.
13          60.     At least as of the filing of this Complaint, Brooks’ infringement of the ’629 Patent
14   has been willful.
15          61.     At least as of the filing of this Complaint, Brooks has actively induced others to
16   directly infringe the ’629 Patent.
17          62.     PUMA has sustained damages as a direct and proximate result of Defendant’s
18   infringement of the ’629 Patent and is entitled to damages pursuant to 35 U.S.C. § 284.
19          63.     Brooks’ infringement has caused, and unless enjoined by this Court under 35
20   U.S.C. § 283, will continue to cause PUMA to suffer irreparable harm for which it cannot be
21   adequately compensated by a monetary award.
22                                                COUNT III:
23                              Infringement of U.S. Patent No. 11,974,630
24          64.     PUMA incorporates by reference the allegations contained in the preceding
25   paragraphs as if separately repeated here.
26          65.     Under 35 U.S.C. § 271(a), Brooks has directly infringed and continues to directly
27   infringe, literally or under the doctrine of equivalents, PUMA’s ’630 Patent by making, using,
28   selling, and offering for sale in the United States, or importing into the United States, a shoe that
     COMPLAINT                                                                LOWE GRAHAM JONES PLLC
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 1   meets every limitation of at least Claim 15 of the ’630 Patent.
 2          66.     At least as of the filing of this Complaint, Brooks has knowledge of the ’630
 3   Patent and of Brooks’ infringement thereof.
 4          67.     At least as of the filing of this Complaint, Brooks’ infringement of the ’630 Patent
 5   has been willful.
 6          68.     At least as of the filing of this Complaint, Brooks has actively induced others to
 7   directly infringe the ’630 Patent.
 8          69.     PUMA has sustained damages as a direct and proximate result of Defendant’s
 9   infringement of the ’630 Patent and is entitled to damages pursuant to 35 U.S.C. § 284.
10          70.     Brooks’ infringement has caused, and unless enjoined by this Court under 35
11   U.S.C. § 283, will continue to cause PUMA to suffer irreparable harm for which it cannot be
12   adequately compensated by a monetary award.
13                                                COUNT IV:
14                              Infringement of U.S. Patent No. 12,016,422
15          71.     PUMA incorporates by reference the allegations contained in the preceding
16   paragraphs as if separately repeated here.
17          72.     Under 35 U.S.C. § 271(a), Brooks has directly infringed and continues to directly
18   infringe, literally or under the doctrine of equivalents, PUMA’s ’422 Patent by making, using,
19   selling, and offering for sale in the United States, or importing into the United States, one or more
20   shoes that meet every limitation of at least Claim 9 of the ’422 Patent.
21          73.     At least as of the filing of this Complaint, Brooks has knowledge of the ’422
22   Patent and of Brooks’ infringement thereof.
23          74.     At least as of the filing of this Complaint, Brooks’ infringement of the ’422 Patent
24   has been willful.
25          75.     At least as of the filing of this Complaint, Brooks has actively induced others to
26   directly infringe the ’422 Patent.
27

28          76.     PUMA has sustained damages as a direct and proximate result of Defendant’s
     COMPLAINT                                                              LOWE GRAHAM JONES PLLC
                                                                                1325 FOURTH AVENUE, SUITE 1130
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                                                                                       TEL: 206-381-3300
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 1   infringement of the ’422 Patent and is entitled to damages pursuant to 35 U.S.C. § 284.
 2            77.   Brooks’ infringement has caused, and unless enjoined by this Court under 35
 3   U.S.C. § 283, will continue to cause PUMA to suffer irreparable harm for which it cannot be
 4   adequately compensated by a monetary award.
 5                                                COUNT V:
 6                     Design Patent Infringement of U.S. Patent No. D1,002,421
 7            78.   PUMA incorporates by reference the allegations contained in the preceding
 8   paragraphs as if separately repeated here.
 9            79.   Under 35 U.S.C. § 271(a), Brooks has infringed and continues to infringe, literally
10   or under the doctrine of equivalents, PUMA’s D’421 Patent by making, using, selling, and
11   offering for sale in the United States, or importing into the United States, a shoe that embodies the
12   design covered by the D’421 Patent.
13            80.   Brooks has profited from the sales of its Brooks Hyperion Elite MD.
14            81.   Brooks has profited from the sales of its Brooks Hyperion Elite LD.
15            82.   Brooks has profited from its infringement of the D’421 Patent.
16            83.   PUMA has sustained damages as a direct and proximate result of Brooks’
17   infringement of the D’421 Patent and is entitled to damages pursuant to 35 U.S.C. §§ 284 and
18   289.
19            84.   Brooks’ infringement has caused, and unless enjoined by this Court under 35
20   U.S.C. § 283, will continue to cause PUMA to suffer irreparable harm for which it cannot be
21   adequately compensated by a monetary award.
22                                                COUNT VI:
23                     Design Patent Infringement of U.S. Patent No. D1,002,422
24            85.   PUMA incorporates by reference the allegations contained in the preceding
25   paragraphs as if separately repeated here.
26            86.   Under 35 U.S.C. § 271(a), Brooks has infringed and continues to infringe, literally
27   or under the doctrine of equivalents, PUMA’s D’422 Patent by making, using, selling, and
28   offering for sale in the United States, or importing into the United States, a shoe that embodies the
     COMPLAINT                                                               LOWE GRAHAM JONES PLLC
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 1   design covered by the D’422 Patent.
 2            87.   Brooks has profited from the sales of its Brooks Hyperion Elite MD.
 3            88.   Brooks as profited from the sales of its Brooks Hyperion Elite LD.
 4            89.   Brooks has profited from its infringement of the D’422 Patent.
 5            90.   PUMA has sustained damages as a direct and proximate result of Brooks’
 6   infringement of the D’422 Patent and is entitled to damages pursuant to 35 U.S.C. §§ 284 and
 7   289.
 8            91.   Brooks’ infringement has caused, and unless enjoined by this Court under 35
 9   U.S.C. § 283, will continue to cause PUMA to suffer irreparable harm for which it cannot be
10   adequately compensated by a monetary award.
11                                                COUNT VII:
12                     Design Patent Infringement of U.S. Patent No. D1,023,531
13            92.   PUMA incorporates by reference the allegations contained in the preceding
14   paragraphs as if separately repeated here.
15            93.   Under 35 U.S.C. § 271(a), Brooks has infringed and continues to infringe, literally
16   or under the doctrine of equivalents, PUMA’s D’531 Patent by making, using, selling, and
17   offering for sale in the United States, or importing into the United States, a shoe that embodies the
18   design covered by the D’531 Patent.
19            94.   Brooks has profited from the sales of its Brooks Hyperion Elite MD.
20            95.   Brooks has profited from the sales of its Brooks Hyperion Elite LD.
21            96.   Brooks has profited from its infringement of the D’531 Patent.
22            97.   PUMA has sustained damages as a direct and proximate result of Brooks’
23   infringement of the D’531 Patent and is entitled to damages pursuant to 35 U.S.C. §§ 284 and
24   289.
25            98.   Brooks’ infringement has caused, and unless enjoined by this Court under 35
26   U.S.C. § 283, will continue to cause PUMA to suffer irreparable harm for which it cannot be
27   adequately compensated by a monetary award.
28
     COMPLAINT                                                              LOWE GRAHAM JONES PLLC
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 1                                                COUNT VIII:
 2                      Design Patent Infringement of U.S. Patent No. D1,021,356
 3            99.    PUMA incorporates by reference the allegations contained in the preceding
 4   paragraphs as if separately repeated here.
 5            100.   Under 35 U.S.C. § 271(a), Brooks has infringed and continues to infringe, literally
 6   or under the doctrine of equivalents, PUMA’s D’356 Patent by making, using, selling, and
 7   offering for sale in the United States, or importing into the United States, a shoe that embodies the
 8   design covered by the D’356 Patent.
 9            101.   Brooks has profited from its sales of its Hyperion Elite 4.
10            102.   Brooks has profited from its infringement of the D’356 Patent.
11            103.   PUMA has sustained damages as a direct and proximate result of Brooks’
12   infringement of the D’356 Patent and is entitled to damages pursuant to 35 U.S.C. §§ 284 and
13   289.
14            104.   Brooks’ infringement has caused, and unless enjoined by this Court under 35
15   U.S.C. § 283, will continue to cause PUMA to suffer irreparable harm for which it cannot be
16   adequately compensated by a monetary award.
17                                                COUNT IX:
18                      Design Patent Infringement of U.S. Patent No. D1,009,432
19            105.   PUMA incorporates by reference the allegations contained in the preceding
20   paragraphs as if separately repeated here.
21            106.   Under 35 U.S.C. § 271(a), Brooks has infringed and continues to infringe, literally
22   or under the doctrine of equivalents, PUMA’s D’432 Patent by making, using, selling, and
23   offering for sale in the United States, or importing into the United States, a shoe that embodies the
24   design covered by the D’432 Patent.
25            107.   Brooks has profited from its sales of its Hyperion Elite 4.
26            108.   Brooks has profited from its infringement of the D’432 Patent.
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     COMPLAINT                                                               LOWE GRAHAM JONES PLLC
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 1            109.   PUMA has sustained damages as a direct and proximate result of Brooks’
 2   infringement of the D’432 Patent and is entitled to damages pursuant to 35 U.S.C. §§ 284 and
 3   289.
 4            110.   Brooks’ infringement has caused, and unless enjoined by this Court under 35
 5   U.S.C. § 283, will continue to cause PUMA to suffer irreparable harm for which it cannot be
 6   adequately compensated by a monetary award.
 7                                        PRAYER FOR RELIEF
 8            WHEREFORE, PUMA seeks the following relief:
 9            A.     An entry of judgment in PUMA’s favor and against Brooks on all Counts of this
10   Complaint;
11            B.     An order enjoining, temporarily, preliminarily and permanently, Brooks, and each
12   of its respective officers, agents, servants, employees, and attorneys, and all of those persons in
13   active concert or participation with it, from infringing any of the Asserted Patents;
14            C.     An award of damages adequate to compensate PUMA for the patent infringement
15   that has occurred pursuant to 35 U.S.C. §§ 284 and 289, together with prejudgment interest and
16   costs, treble damages for Brooks’ willful infringement, and reasonable attorneys’ fees, pursuant to
17   35 U.S.C. §§ 284 and 285;
18            D.     An order declaring this an exceptional case and awarding PUMA its attorneys’
19   fees and costs in accordance with 35 U.S.C. § 285; and
20            E.     Such other relief as the Court may deem just and proper.
21                                            JURY DEMAND
22            PUMA demands a trial by jury on all issues properly tried to a jury.
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     COMPLAINT                                                               LOWE GRAHAM JONES PLLC
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 1        Dated: June 27, 2024
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18                                     PUMA SE and PUMA North America Inc.
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     COMPLAINT                                                       LOWE GRAHAM JONES PLLC
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